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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


JOHN DOE,                                          Case No. 18-11776

              Plaintiff,                           SENIOR U.S. DISTRICT JUDGE
                                                   ARTHUR J. TARNOW
v.
                                                   U.S. MAGISTRATE JUDGE
UNIVERSITY OF MICHIGAN, ET AL.,                    ELIZABETH A. STAFFORD

              Defendants.
                                        /

           RESPONSE TO DEFENDANTS’ PETITION FOR WRIT OF MANDAMUS

      The Court welcomes the request for a response.

      Case management is the responsibility of the Court. Because there appears to

be some confusion concerning the Court’s reasons for scheduling a settlement

conference and ordering the President to appear, the undersigned will repeat, for the

benefit of the panel and the public, much of what it has already said to the parties in

chambers.

      The chronology of this case gives the Court reason to believe that the parties

are not working together to reach what it hopes is their common goal: instituting a

University-wide sexual misconduct policy that protects the rights, needs, and well-

being of all students, including victims of sexual assault and those accused of sexual

assault.


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       Bolstering this belief is the University’s decision to issue a new policy without

consulting Plaintiff’s counsel. The ruling in Doe v. Baum, 903 F.3d 575 (6th Cir.

2018) should have been helpful in formulating a hearing procedure acceptable to

both parties. On January 9, 2019, however, four months after Baum was decided, the

University announced a new policy which includes procedures to which Plaintiff

would now be subject. The University’s lawyers proceeded by using the new policy

as a basis for declaring compliance with due process and for filing a motion to

dismiss the entire action. The University’s unilateral actions virtually guarantee the

possibility of an appeal of any ruling by the Court. The result? Delay, uncertainty,

and additional billable hours for an ever-expanding defense team,1 with no added

value to its client.

       Had the University been sincerely committed to its purported goals of serving

the interests of all of its students and expedient resolution of this case,2 it would

have—at a minimum—sought input from Plaintiff’s counsel before instituting a

policy which directly affects her client and the outcome of this case.




1
  The University has now retained a total of three legal teams from different law
firms—Saul, Ewing Arnstein & Lehr, Miller Canfield, and Jones Day—to assist its
Office of General Counsel. It should also be noted that General Counsel is probably
on a salary, but he had not filed an appearance in this case until June 6, 2019.
2
  My experience leads me to believe all counsel are in pursuit of a fair result to be
achieved expeditiously.
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      Further supporting the Court’s decision to hold a settlement conference are

the University’s representations at the status conferences held on April 25, 2019 and

May 1, 2019. The April 25th conference was intended to be an opportunity for the

parties to resume discussions in light of the Sixth Circuit’s remand. See John Doe v.

Board of Regents of the University of Michigan, et al., 18-1870, 18-1903 (6th Cir.

Apr. 10, 2019). Instead, the conference became a performance for the University’s

attorney, Mr. Richards, who, despite his litigation experience, repeatedly claimed

that he did not understand the meaning of the term “cross-examination.”3 If, as the

University says in its petition, the Court used an expletive at the conference, it did

so in response to Mr. Richards’ insincere behavior concerning the plain meaning of

“cross-examination.” The tenor of the April 25th conference, which was held off-

the-record, prompted the need for a court reporter at the May 1st conference.

      At this juncture, a settlement conference is the most efficient (and perhaps the

only) way to get the parties to engage in open dialogue to reach a resolution that best

serves the interests of the individual students involved in this case and the student

body at large.

      The President’s participation is necessary to achieve this goal. He is the

representative with the ultimate authority to settle this case, see L.R. 16.6, and the



3
 To satisfy my curiosity, I ask nearly every attorney who appears in this Court to tell
me where he or she attended law school.
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authority adequate for the University’s responsible and effective participation, see

L.R. 16.1.4 The University has asked for permission to send another official with full

settlement authority and expertise to attend in the President’s place, but it cannot

even identify who this person is.5 Nowhere in its Petition does the University provide

the name or title of an individual who has “full settlement authority” and “more

particularized knowledge” concerning the policy. Moreover, while the Court

welcomes the attendance of the General Counsel, he is not the client in this case; and

as the Court understands it, his authority is limited to making a strong

recommendation to his client. Finally, as far as the Court aware, no representative

with full settlement authority has ever even discussed this case with Plaintiff’s

counsel since its commencement.

      Obviously, the President is not the person with the most particularized

knowledge on how to tackle the unique obstacles presented by conducting sexual

misconduct proceedings on campus. But that is why the University has hired experts

and attorneys. Any agreement reached by the experts in the room is ultimately



4
  The Court also considers the President to be the client here. Despite the Court’s
Practice Guidelines, which require the client’s attendance at the initial status
conference, the President failed to appear. See Practice Guidelines, Conferences,
https://www.mied.uscourts.gov/index.cfm?pageFunction=chambers&judgeid=17
(last visited June 17, 2019).
5
  When the Court asked who this person might be, Mr. Richards responded: “I would
have to check with my client as to who the right person would be, your Honor, but
it is certainly not the President.” Tr. 8:1-5, May 1, 2019.
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subject to the President’s approval. His attendance at the conference avoids the need

to resort to the bureaucratic and lengthy settlement process inherent in university

litigation. It is also important for the President to be aware of the demeanor of his

legal representative.

      Contrary to the University’s accusation that the Court wishes to “cross-

examine [the President] on matters of public policy,” Defs.’ Pet. at 5, the Court has

no expectation that the President issue any sort of statement, let alone testify, at the

conference. As with any settlement conference, the talking will be left to the

attorneys.

      Furthermore, holding a settlement conference is the Court’s attempt to protect

all parties, including the University and its President, Plaintiff, and the complainant

from unnecessary publicity and delay. Instead of cooperating to meet these goals,

however, the University’s attorneys have refused to participate in good faith. When

faced with the Court’s request for the President’s appearance, Mr. Richards, the

apparent leader of this ever-changing legal team, insisted that the Court order the

President to appear so that he could “explain to [his] client what the situation is.” Tr.

11:20-22, May 1, 2019. Before issuing the order, the Court cautioned Mr. Richards:

“If you want me to put it in writing so the media has it, it will be something like, the

President has been requested to participate in a discussion of a proposed rule and has

chosen not to appear. Therefore, I order that he appear.” Tr. 11:13-18, May 1, 2019.


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      While the press covered the story more fully, and, for the most part,

accurately, the resulting publicity has neither helped the University’s image nor

contributed to the resolution of this case.6

      The University’s attorneys appear to be more concerned with keeping the

President out of the public eye than with prompt resolution of this case and providing

a fair process for adjudicating sexual misconduct claims.

      The Court has bent over backwards to accommodate the President’s schedule,

proposing several dates and times, and deferring to his availability. As the docket

shows, the Court adjourned the conference from June 11th to June 13th to conform

to the President’s schedule. After the Court adjourned the conference to June 13th at

11:00 AM at the University’s request, the University’s attorneys informed the Court

that the President would only be available until Noon on June 13th. This led the

Court to change the start time to 10:00 AM.

      The Court pauses to acknowledge its last-minute decision to hold the

conference on the record and open to the public. The University correctly notes that

the Court had previously indicated that the conference would be held in chambers,



6
 Although I suggested that a formal order requiring the President to appear would
pique the media’s interest, I did not anticipate the ambiguous headline in the Detroit
Legal News, “Judge orders U-M president to court in sexual misconduct case.” Ed
White, Judge Orders U-M President to Court in Sexual Misconduct Case, DETROIT
LEGAL NEWS, May 10, 2019, at 1. While the article was a standard Associated Press
story, the headline was unique to the Legal News.
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off the record, and that a court reporter would be available if necessary. As

previously stated, perhaps too abruptly in its Order [54], the Court prefers to err on

the side of transparency in this matter of public importance. To quote the venerable

Judge Damon J. Keith: “Democracies die behind closed doors.”

      The Court’s change of heart was also prompted, at least in part, by the

University’s public filing of a Motion to Dismiss the Second Amended Complaint

[49] on June 5, 2019. The filing incited confusion amongst the media on whether it

was an attempt by the University to avoid the conference, ultimately causing the

University to issue a statement clarifying its position on the matter. See Gus Burns,

UM Seeks Lawsuit Dismissal as Mark Schlissel Court Appearance Approaches,

MLIVE,    June    6,   2019,    https://www.mlive.com/news/2019/06/university-of-

michigan-makes-last-ditch-effort-to-avoid-forced-court-appearance-by-

president.html.

      One of the main reasons behind the Court’s insistence on resolution via

settlement is to avoid media attention and preserve the University’s public image.

But, despite the Court’s warnings, the University has pursued every possible avenue

for garnering publicity in this case. This includes its filing of a Petition for Writ of

Mandamus, which the Court views as an improper method for procuring appellate

intervention at this stage. The proper recourse would have been to file an

interlocutory appeal of the Court’s Order Denying Defendants’ Motion for


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Reconsideration [44] issued on May 8, 2019, which would have given the Court of

Appeals more than one month to consider the Court’s ruling, as opposed to one day.

Instead, in a last-ditch effort to circumvent the time limits for filing an interlocutory

appeal,7 the University asks for the extraordinary remedy of a writ of mandamus.

      The University’s Petition is without merit. Case management is the

prerogative of the trial judge. Fed. R. Civ. P. 16. Based on its experience and course

of dealing with the attorneys over the past year, the Court believes it reasonable and

necessary to require the President to appear to achieve the University’s effective

participation. The Court hopes to hold this informal conference in open court to quell

the public’s confusion concerning the status of the case which has been generated

by the University’s recent filings.


                                         s/Arthur J. Tarnow
                                         Arthur J. Tarnow
Dated: June 17, 2019                     Senior United States District Judge




7
 28 U.S.C. § 1292 provides ten days within which a party must file its application
for an interlocutory appeal.
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